AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Middle District
                                                    __________       of North
                                                                District      Carolina
                                                                         of __________

WILLIAM MARSHALL, individually and on behalf of all                  )
           others similarly situated                                 )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:25-cv-549-TDS-LPA
                                                                     )
     AHOLD DELHAIZE USA SERVICES LLC and                             )
          HANNAFORD BROS. CO., LLC                                   )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) AHOLD DELHAIZE USA SERVICES, LLC
                                       C/o Corporation Service Company, Registered Agent
                                       2626 Glenwood Avenue
                                       Raleigh, NC 27608




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matt Norris
                                           NORRIS LAW FIRM PLLC
                                           1776 Heritage Center Drive, Suite 204
                                           Wake Forest, North Carolina 27587




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:             07/02/2025
 Lawrence H. Cunningham                                                                  Signature of Clerk or July
                                                                                                               Deputy2,Clerk
                                                                                                                        2025
 Clerk                                                                                              Date

 /s/ Samantha Hicks
 Deputy Clerk


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                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                               ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                               ; or

           ’ I returned the summons unexecuted because                                                                                ; or

           ’ Other (specify):
                                                                                                                                             .


           My fees are $                           for travel and $                  for services, for a total of $            0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                        Reset
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